     Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 1 of 21 PageID #:1815



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 STATE OF ILLINOIS,

                        Plaintiff,
                                                      Case No. 1:17-cv-06260
                 v.                                   Honorable Robert M. Dow, Jr.

 CITY OF CHICAGO,

                        Defendant.


                     PLAINTIFF’S MEMORANDUM IN SUPPORT OF
                   APPROVAL OF THE PROPOSED CONSENT DECREE

          The State of Illinois (“State”), by Lisa M. Madigan, Attorney General, respectfully

submits this Memorandum in Support of Approval of the Proposed Consent Decree, and states:

I.        INTRODUCTION

          The Proposed Consent Decree filed by the parties represents a unique opportunity to

address Chicago’s long history of policing problems by mandating reform of the Chicago Police

Department (“CPD”). The broad-based reforms set forth in the Proposed Consent Decree seek to

ensure constitutional policing that protects the civil rights of all residents of Chicago, demands

police accountability, and provides transparency to the Chicago community. To implement and

sustain the required reforms, the Proposed Consent Decree requires that Chicago police officers

receive the training, resources, and support necessary to perform their jobs professionally and

safely.

          For over 50 years, reviews of CPD’s policing practices have consistently identified

significant failures by CPD officers to act in accordance with the law. One of the first of these

reviews, in 1973, described a pattern of excessive force and police abuse directed
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 2 of 21 PageID #:1816



disproportionately at Chicago’s African American community. In the years since, significant

investigations, reports, and lawsuits have continued to reveal widespread constitutional

violations, including repeated police abuse, use of excessive force, and torture, that have

disproportionately harmed Chicago’s African American and Latino residents. Following each

review, efforts aimed at reforming CPD have fallen far short, proving insufficient to eliminate

the unlawful policing practices. This longstanding history of unconstitutional policing and the

failure to enact effective, sustained reforms has led to profound mistrust between many Chicago

communities, particularly communities of color, and CPD.

       The latest flashpoint in the City’s policing history occurred in late 2015, after the delayed

release of a videotape of the fatal police shooting of Laquan McDonald, a 17-year-old African-

American youth, by CPD officer Jason Van Dyke. The videotape highlighted serious questions

about the use of unlawful and excessive force by CPD officers and the lack of accountability for

such misconduct. At that time, Illinois Attorney General Lisa Madigan called on the U.S.

Department of Justice (“DOJ”) to initiate a pattern and practice investigation to determine

whether CPD had engaged in systemic violations of the U.S. Constitution and federal civil rights

laws. Given the City’s well-documented, decades-long failure to reform CPD, it was clear that

Chicago could not move forward to improve policing practices and build needed trust between

the police and the community without an outside, independent investigation of CPD.

       At the same time, Chicago Mayor Rahm Emanuel announced the creation of the Police

Accountability Task Force (“PATF”). Mayor Emanuel charged the PATF with recommending

reforms to improve independent oversight of police misconduct, ensure officers with repeated

complaints are identified and evaluated appropriately, and establish best practices for release of

videos of police-involved incidents. In April 2016, the PATF released a comprehensive 183-page



                                                2
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 3 of 21 PageID #:1817



report with details and findings about a broad range of issues organized around five areas: video

release policies, de-escalation, community and police relations, early intervention and personnel

concerns, and legal oversight and accountability.

       On December 7, 2015, DOJ and the U.S. Attorney’s Office for the Northern District of

Illinois jointly launched an investigation into CPD that would focus on CPD’s use of force and

its systems of accountability. The DOJ investigation reviewed over 170 officer-involved

shooting investigations and 425 incidents involving less-lethal force; conducted over 60 ride-

alongs with CPD officers; visited each of Chicago’s 22 police districts; and met with over 90

community organizations. (Compl., Ex. B., DOJ Report, at 21–22.)

       In January 2017, at the conclusion of its year-long investigation, DOJ issued a 161-page

report which concluded that “CPD officers engage in a pattern or practice of using force,

including deadly force, that is unreasonable,” in violation of the Fourth Amendment to the U.S.

Constitution. (Id. at 5.) DOJ’s investigation revealed that this pattern or practice, which

disproportionately impacts African American and Latino communities in Chicago, “is largely

attributable to systemic deficiencies within CPD and the City” in the training and supervision of

officers, accountability systems, and the collection and reporting of data on officer use of force.

(Id. at 5–15.) In addition, DOJ determined that the lack of effective community-oriented policing

strategies, unaddressed racially discriminatory conduct by officers, and insufficient support for

officer wellness contributed to the pattern or practice of unconstitutional use of force. (Id.) To

remedy these systemic deficiencies, the DOJ Report made 99 specific recommendations

regarding reforms in the areas of use of force, accountability, training, supervision, officer

wellness and safety, data collection and transparency, promotions, and community policing. (Id.

at 150–61.)



                                                3
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 4 of 21 PageID #:1818



       In making its recommendations, the DOJ Report noted the importance of building trust

“for the police within Chicago’s neighborhoods most challenged by violence, poverty, and

unemployment. … This will be difficult, but will benefit both the public and CPD’s own officers.

The increased trust these reforms will build is necessary to solve and prevent violent crime.” (Id.

at 4.) The DOJ Report emphasized, however, that the required reforms “will likely not happen or

be sustained without the reform tools of an independent monitoring team and a court order. …

Together, an independent monitor and court decree will make it much more certain that Chicago

is finally able to eliminate patterns of unconstitutional conduct, and can bolster community

confidence to make policing in Chicago more effective and less dangerous.” (Id. at 16.)

       In the spring of 2017, the new U.S. Attorney General, Jeff Sessions, issued a

memorandum indicating that under the administration of President Donald J. Trump, DOJ was

adopting the policy that state and local police matters should be handled at the state and local

level. As a result, DOJ indicated that it would not take steps to seek a consent decree to reform

CPD.

       Accordingly, in August 2017, the State brought this action against the City to address the

findings and recommendations of the DOJ and PATF reports and eliminate the unconstitutional

conduct that has plagued CPD for decades. The State’s Complaint, based on the DOJ and PATF

reports, seeks injunctive relief for alleged violations of the Fourth Amendment to the U.S.

Constitution; Article I, Section 6 of the Illinois Constitution; the Illinois Civil Rights Act of

2003; and the Illinois Human Rights Act.

       At the time that the State filed the lawsuit against the City, Mayor Emanuel and CPD

Superintendent Johnson committed to work with Attorney General Madigan to negotiate an

enforceable consent decree. The Office of the Attorney General (“OAG”) and the City agreed



                                                4
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 5 of 21 PageID #:1819



that enforceable reforms were necessary to permanently change the conduct of CPD, provide the

training and support officers need, and build trust between Chicago’s residents and their police

department. In agreeing to negotiate, the OAG and the City recognized that after decades of

attempts to reform, the best way to ensure lasting change was to obtain a consent decree that

would put in place a plan for reform, require that an independent monitoring team assess CPD’s

and the City’s progress in implementing reform, and be enforced by a federal judge.

       The Proposed Consent Decree is the product of thorough investigation, including input

from subject matter experts, CPD officers, and the Chicago community, and a robust arms-length

negotiation between the parties. The Proposed Consent Decree ensures that the City and CPD

provide police services in a manner that fully complies with the Constitution and laws of the

United States and State of Illinois, respects the rights of the people of Chicago, promotes

community and officer safety, and builds trust between officers and the communities they serve.

The Proposed Consent Decree seeks to achieve CPD reform by addressing the following

subjects: community policing; impartial policing; crisis intervention; use of force; recruitment,

hiring, and promotion; training; supervision; officer wellness and support; accountability and

transparency; and data collection, analysis, and management.

II.    THE PROPOSED CONSENT DECREE IS THE PRODUCT OF THOROUGH
       INVESTIGATION.

       A.     The OAG dedicated significant resources and expertise to ensure the
              Proposed Consent Decree provides a framework for real reform.

       The OAG has dedicated a team of nine attorneys to conduct the factual investigation,

prepare drafts of consent decree provisions, participate in negotiations, and review and

incorporate public feedback into the consent decree. In addition, attorneys from the law firm

Robins Kaplan LLP have also assisted the State pro bono.



                                               5
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 6 of 21 PageID #:1820



       In addition to attorneys, the OAG hired a team of experts with extensive experience and

knowledge, including experience in the investigation and oversight of large city police forces as

well as police reform. The State’s experts include:

              Ronald L. Davis, who previously served as Executive Director of the President’s
               Task Force on 21st Century Policing during the administration of President Barack
               Obama; Director of DOJ’s Office of Community Oriented Policing Services;
               Chief of the East Palo Alto Police Department; and a police officer and Captain in
               the Oakland Police Department;
              Kathleen M. O’Toole, who previously served as Chief of the Seattle Police
               Department; the independent monitor overseeing a police reform consent decree
               between DOJ and the town of East Haven, Connecticut; and as a former police
               officer in and later Commissioner of the Boston Police Department;
              Greg Ridgeway, who holds a Ph.D. in statistics and is currently an Associate
               Professor of Criminology and Statistics at the University of Pennsylvania, and
               whose prior work includes analyzing police practices for evidence of racial bias in
               jurisdictions including Cincinnati, Ohio and New York, New York;
              Ellen Scrivner, who is a Board Certified Police and Public Safety Psychologist
               and whose prior experience includes working on monitoring teams for consent
               decrees regarding the Seattle Police Department, the Cleveland Division of
               Police, and the New Orleans Police Department;
              Jonathan M. Smith, who previously served as Chief of the Special Litigation
               Section of DOJ’s Civil Rights Division from 2010 to 2015, during which time he
               was responsible for 18 pattern or pattern practice investigations of civil rights
               violations by law enforcement; and
              Scott Thomson, who is currently serving as Chief of the police department in
               Camden County, New Jersey and President of the Police Executive Research
               Forum; and who has served as a policing expert in DOJ investigations in
               jurisdictions such as Baltimore, Maryland.

       In addition to these resources the OAG has dedicated to the investigation and negotiation

process, two additional attorneys, experienced community outreach staff, and a team of

dedicated support staff have assisted the State with other aspects of the case, including the

extensive process of soliciting public input regarding the consent decree, both during the initial

drafting phase and after the draft of the consent decree was released for public comment.




                                                6
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 7 of 21 PageID #:1821



       B.      The OAG performed extensive factual investigation.

       Since filing suit, the OAG has undertaken wide-ranging and detailed factual investigation

and discovery to further inform its understanding of CPD’s former and current practices.

Specifically, the OAG propounded 242 document requests and reviewed over 10,000 documents,

totaling over 97,000 pages. In addition, to inform the parties’ negotiations, the OAG conducted

interviews of officers throughout all ranks of CPD, including the commanding officer of CPD’s

in-service and recruit training programs, the commanding officer of CPD’s Force Review Unit,

Training Academy staff, and field training officers.

       During the OAG’s investigation, attorneys and experts for the OAG also observed the

department-wide use of force training provided to current CPD officers, train-the-trainer

sessions, and numerous courses provided to CPD recruits at CPD’s Training Academy. In

addition, the OAG participated in ride-alongs in neighborhoods throughout the City, met with

officers, sergeants, and watch commanders in various CPD districts, conducted site visits, and

attended several detailed presentations provided by CPD and the City regarding ongoing and

planned reform efforts intended to address use of force, officer training, accountability,

promotions, crisis intervention, officer wellness, data management, community policing, and

impartial policing.

III.   THE PARTIES TO THE PROPOSED CONSENT DECREE SOUGHT AND
       RECEIVED SUBSTANTIAL INPUT FROM INTERESTED STAKEHOLDERS.

       A.      The parties requested and received extensive community input.

       As part of the process of drafting a consent decree, the OAG worked with community

organizations throughout Chicago to ensure that all interested Chicago residents had a

meaningful opportunity to provide input on police reform, much of which was incorporated in

the draft of the consent decree posted on July 27, 2018. The OAG established a website


                                                7
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 8 of 21 PageID #:1822



dedicated to providing information on this case and offering an avenue for Chicagoans to submit

input, and also created an email address and telephone hotline for community members to

provide input. Moreover, with the expert assistance of the Institute for Policy and Civic

Engagement (“IPCE”) at the University of Illinois at Chicago, the OAG and community

organizations held 14 Consent Decree Community Roundtables in neighborhoods throughout

Chicago, with a focus on the communities most impacted by the police misconduct identified in

the DOJ and PATF reports. At the same time as a draft of the consent decree was publicly

released, IPCE issued a report summarizing the community input received from the 14

Community Roundtables, as well as from numerous facilitated small group conversations and

online and email feedback.1

       Additionally, the plaintiffs in two separate cases relating to police reform, Campbell v.

City of Chicago, No. 17-cv-4467 (U.S. Dist. Ct., N.D. Ill.), and Communities United v. City of

Chicago, No. 17-cv-7151 (U.S. Dist. Ct., N.D. Ill.), established a coalition of community

organizations (the “Coalition”) with an interest in the topics anticipated to be addressed in the

consent decree. Pursuant to a Memorandum of Agreement between the parties and the Coalition,

the Coalition has shared its ideas regarding each of the specific areas anticipated to be addressed

in the consent decree. The parties then reviewed and considered all of the community input, and

numerous provisions in the Proposed Consent Decree ultimately reflect that input.

       B.      The State received meaningful input from CPD, the police unions, and
               individual police officers.

       Throughout the negotiations with the City, high-ranking members of CPD were present

for and deeply involved in the negotiations. In addition, the OAG repeatedly met and negotiated


       1
         Institute for Policy and Civic Engagement, University of Illinois at Chicago, Consent
Decree Community Engagement (July 2018), available at http://chicagopoliceconsentdecree.org/
resources/.
                                                8
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 9 of 21 PageID #:1823



with counsel and high-ranking members of the Fraternal Order of Police (“FOP”), the union

representing CPD officers below the rank of sergeant. From September 2017 to the present, the

OAG, at times together with the City, has met on at least ten separate occasions with the

leadership of and counsel for the FOP. On September 29, 2017, the FOP presented the OAG with

a list of 22 topics the FOP wished to include in a consent decree, including “carve-out” language

intended to define the relationship between the consent decree and the collective bargaining

agreements entered into between the FOP and the City. The Proposed Consent Decree includes

numerous elements that align with the FOP’s proposals, including, for example, a carve-out

provision regarding the FOP’s collective bargaining agreement, as well as enhanced training and

support services for CPD officers. The FOP also submitted written comments in response to the

publicly released draft of the consent decree, and the parties incorporated that feedback as

appropriate by, for example, changing a provision regarding the timeframe within which officers

must report broken body-worn cameras.

       The OAG also met on at least five separate occasions with the leadership of and counsel

for the three unions representing CPD sergeants, lieutenants, and captains (collectively,

“Supervisors’ Unions”). The Supervisors’ Unions provided input both before and after the

release of the public draft, and the final draft of the Proposed Consent Decree reflects that input.

As one example, the Supervision Section of the Proposed Consent Decree requires CPD to attain

a ratio of no more than ten officers assigned to one sergeant in CPD’s field units, which is in part

intended to address a concern raised by the Supervisors’ Unions about high subordinate-to-

supervisor ratios.

       The State also partnered with the Police Foundation, a national nonprofit organization, to

conduct outreach to CPD officers across the department of various ranks and assignments in



                                                 9
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 10 of 21 PageID #:1824



order to solicit input and feedback on the department’s challenges and the ways to address those

challenges through a consent decree. Experts from the Police Foundation, including two former

police chiefs, facilitated 13 focus groups of sworn CPD officers. The Police Foundation also set

up a password-protected comment box on its website to provide all CPD officers (who received

the password and information on how to access the comment box via email and during roll calls)

with a way to provide input. The Police Foundation issued a report summarizing the key findings

and themes from the focus groups and website comments.2

IV.    THE PUBLIC COMMENT PERIOD PROVIDED ADDITONAL FEEDBACK
       AND REVISIONS TO THE PROPOSED CONSENT DECREE.

       After publication of a draft of the consent decree on July 27, 2018, the parties encouraged

the public to comment on how they believed the draft could be improved. After receiving nearly

1,700 comments and suggestions about a diverse range of topics, the parties then began a new

round of extensive negotiations relating to the feedback from the public comment period. After

many additional calls, exchanges of drafts, and numerous face-to-face negotiation sessions, the

parties made additions and changes to the draft of the consent decree incorporating public

feedback in a number of areas, including, but not limited to:

              requiring the City to use best efforts to expand the Civilian Office of Police
               Accountability’s (“COPA”) jurisdiction to conduct administrative investigations
               for all types of sexual misconduct by CPD officers;
              providing additional protections for individuals with disabilities, including
               ensuring reasonable accommodations are provided for individuals with physical
               disabilities or mental or developmental disabilities, providing training to all CPD
               officers regarding recognizing and responding to individuals with disabilities, and
               mandating that CPD designate a liaison responsible for coordinating compliance
               with the Americans with Disabilities Act;
              requiring improvements to how CPD and the City handle crisis intervention, such
               as by enhancing data collection, and requiring identification and evaluation of

       2
         Police Foundation, Opinions of Officers of the Chicago Police Department on the
Upcoming Consent Decree: A Report to the State of Illinois Office of the Attorney General (July
2018), available at http://chicagopoliceconsentdecree.org/resources/.
                                                10
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 11 of 21 PageID #:1825



                ways to increase opportunities to divert individuals in crisis away from the
                criminal justice system, where appropriate; and
               providing increased transparency and expanded opportunities for community
                input, including by requiring CPD to publish the underlying data used to annually
                assess whether certain CPD law enforcement practices are impartial, requiring
                publication of CPD’s plans for implementing various sections of the consent
                decree and the independent monitor’s plans for assessing compliance, requiring
                stakeholder input in the initial development and future revisions of CPD policies
                related to officers assigned to Chicago Public Schools, and requiring CPD to
                publicize in advance opportunities for the community to provide input on CPD’s
                efforts to implement the material requirements of the consent decree.

V.     THE PROPOSED CONSENT DECREE IS LAWFUL, FAIR, REASONABLE,
       AND ADEQUATE AND SHOULD BE APPROVED.

       A.       Legal Standard

       The law favors voluntary resolution of litigation through settlement. EEOC v. Hiram

Walker & Sons, Inc., 768 F.2d 884, 888–89 (7th Cir. 1985); Donovan v. Robbins, 752 F.2d 1170,

1177 (7th Cir. 1985). A consent decree is “a means by which parties settle their disputes without

having to bear the financial and other costs of litigating.” Local No. 93, Int’l Ass’n of

Firefighters v. City of Cleveland, 478 U.S. 501, 528 (1986). When a consent decree resolves

constitutional claims, the consent decree “may embody conditions beyond those imposed directly

by the Constitution itself.” Komyatti v. Bayh, 96 F.3d 955, 959 (7th Cir. 1996). A requirement

imposed by a consent decree must simply be “related to elimination of the condition that is

alleged to offend the Constitution.” Id. (citing Rufo v. Inmates of Suffolk Cnty. Jail, 502 U.S.

367, 389 (1992); Milliken v. Bradley, 418 U.S. 717, 738 (1974)).

       When presented with a proposed consent decree, a district court must determine whether

the proposed decree is lawful, fair, reasonable, and adequate. Hiram Walker, 768 F.2d at 889

(citing, inter alia, Gautreaux v. Pierce, 690 F.2d 616, 631 (7th Cir. 1982)). The factors that

district courts consider in making this determination include: the strength of the plaintiff’s case

compared to the terms of the settlement; the likely complexity, length, and expense of the

                                                11
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 12 of 21 PageID #:1826



litigation; the amount of opposition to settlement among affected parties; the opinion of

competent counsel; and the stage of the proceedings and the amount of discovery completed at

the time of settlement. Isby v. Bayh, 75 F.3d 1191, 1199 (7th Cir. 1996) (citing Hiram Walker,

768 F.2d at 889). Of these factors, the most important is the first. Id.

       Because “settlements are favored and ordinarily should be approved,” Donovan, 752 F.2d

at 1177, a district court “may not deny approval of a consent decree unless it is unfair,

unreasonable, or inadequate,” Hiram Walker, 768 F.2d at 889. The proposed consent decree must

be examined in its entirety, rather than focusing on individual components. Isby, 75 F.3d at 1199

(internal quotations and citations omitted). Approval of a consent decree by a district court is

reviewed on appeal under a “highly deferential version” of the abuse of discretion standard.

Donovan, 752 F.2d at 1177.

       B.      The Court should approve the Proposed Consent Decree because it is lawful,
               fair, reasonable, and adequate.

       The Proposed Consent Decree is lawful, fair, reasonable, and adequate, and it should be

approved. See Hiram Walker, 768 F.2d at 889. Taken together, the 229 pages and 799 paragraphs

of the Proposed Consent Decree provide a robust and comprehensive remedy to address the

pattern of unconstitutional policing alleged in the Complaint and described in the two extensive

reports upon which the Complaint is based. All of the factors relevant to the Court’s assessment

of the Proposed Consent Decree favor approval.

               1.      The Proposed Consent Decree appropriately reflects the breadth and
                       strength of the State’s case.

       The first and most important factor district courts consider in deciding whether to

approve a proposed consent decree is how the terms of the proposed decree compare to the

strength of the plaintiff’s case. Isby, 75 F.3d at 1199. The Proposed Consent Decree is a remedy

that is historic in its breadth and strength. For good reason: the State’s Complaint alleges

                                                  12
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 13 of 21 PageID #:1827



systemic problems in the Chicago Police Department, decades in the making, that have led to a

pattern of unconstitutional use of excessive force and other violations of law. In other words, the

breadth and strength of the Proposed Consent Decree appropriately reflect the breadth and

strength of the underlying claims that will be resolved by it.

       The DOJ Report and the PATF Report provide a strong factual basis for the State’s

claims. The Proposed Consent Decree addresses, in full or in substantial part, the vast majority of

the 99 specific recommendations included in the DOJ Report as well as numerous additional

recommendations included in the PATF Report. Indeed, the Proposed Consent Decree includes a

section addressing each of the subject areas in which the DOJ Report recommended reforms, and

each of those sections contains detailed provisions implementing specific reforms called for by

the DOJ Report. Many of the specific provisions included in the Proposed Consent Decree also

mirror similar provisions in consent decrees approved by district courts in other jurisdictions to

remedy comparable allegations of unconstitutional conduct by police.3

       Other aspects of the Proposed Consent Decree break new ground, such as provisions

requiring unprecedented transparency in how CPD publishes data regarding use of force

incidents, and provisions significantly expanding the support services provided to CPD officers.

The Proposed Consent Decree is also appropriately reflective of Chicago’s unique



       3
         See United States v. Police Department of Baltimore City, No. 1:17-cv-00099, Dkt. No.
2-2 (D. Md. Jan. 12, 2017); United States v. City of Newark, No. 2:16-cv-01731, Dkt. No. 4-1
(D. N.J. Apr. 29, 2016); United States v. City of Cleveland, No. 1:15-cv-01046, Dkt. No. 7-1
(N.D. Ohio June 12, 2015); United States v. City of Albuquerque, No. 1:14-cv-01025,
Dkt. No. 9-1 (D. N.M. June 2, 2015); United States v. County of Los Angeles, No. 2:15-cv-
03174, Dkt. No. 4 (C.D. Cal. Apr. 28, 2015); United States v. Commonwealth of Puerto Rico,
No. 3:12-cv-2039, Dkt. No. 57-1 (D. P.R. July 17, 2013); United States v. City of New Orleans,
No. 2:12-cv-01924, Dkt. No. 159-1 (E.D. La. Jan. 11, 2013); United States v. City of Portland,
No. 3:12-cv-02265, Dkt. No. 4-1 (D. Or. Dec. 17, 2012); United States v. Town of East Haven,
No. 3:12-cv-01652, Dkt. No. 2-1 (D. Conn. Nov. 20, 2012); United States v. City of Seattle,
No. 2:12-cv-01282, Dkt. No. 3-1 (W.D. Wash. July 27, 2012).
                                                 13
  Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 14 of 21 PageID #:1828



circumstances. For example, the Proposed Consent Decree includes a 52-page section

implementing numerous reforms intended to ensure accountability for police misconduct by

strengthening and improving the coordination among the various oversight agencies, such as

COPA and the Police Board, that have come into existence in response to Chicago’s uniquely

troubling and long history of police misconduct directed toward African American communities.

        The Proposed Consent Decree provides a robust, comprehensive, and durable framework

for remedying the systemic deficiencies that gave rise to the State’s claims. Because the

Proposed Consent Decree reflects the strength of the underlying claims at issue, it should be

approved. See Isby, 75 F.3d at 1199.

                2.       The Proposed Consent Decree should be approved in light of the
                         proceedings conducted to date and the burden and complexity of
                         resolving the case through litigation.

        District courts considering a proposed consent decree also examine the stage of the

proceedings at the time of settlement, as well as the likely complexity, length, and expense of the

litigation. Isby, 75 F.3d at 1199. The Proposed Consent Decree in this case is the product of the

DOJ and PATF pre-litigation investigations, as well as the additional investigation conducted by

the OAG. These three investigations have required significant time and resources, and the

breadth, complexity, and thoughtfulness of the Proposed Consent Decree are a reflection of that

hard work. The extensive resources that have been dedicated to formulating this Proposed

Consent Decree are now best spent implementing the reforms it contains, instead of engaging in

protracted litigation.

        In addition to being a reflection of the investigations and the extensive process for

soliciting community and police input, the Proposed Consent Decree is also the product of

hundreds of hours of painstaking negotiations between the parties. In total, the parties have

participated in approximately 300 hours of face-to-face negotiations from November 2017
                                                14
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 15 of 21 PageID #:1829



through September 2018. During these negotiations, the parties addressed their disagreements

regarding draft provisions that took hundreds of hours to prepare. Simply put, the process of

drafting and negotiating the Proposed Consent Decree has been extensive. Given what has been

required to get to this point, see Isby, 75 F.3d at 1199, the proceedings conducted to date favor

approval of the Proposed Consent Decree.

       Beginning the implementation of the Proposed Consent Decree is also preferable to

engaging in the lengthy litigation that would be required to resolve the underlying claims. The

Complaint alleges a pattern of unconstitutional conduct covering decades and involving many

people. Discovery would entail production and review of files regarding hundreds of individual

incidents, many of which have already been the subject of protracted litigation. Given the scope

of the claims at issue and the time span involved, the list of potential witnesses would likely

number in the hundreds. Extensive expert discovery would also be required. Indeed, the OAG

has retained six experts to advise in the negotiating process, and it is likely that the State would

rely on a comparable number of experts to prove its case. All told, the process of litigating this

case would take several years. That time is better spent implementing the Proposed Consent

Decree. See Williams v. Vukovich, 720 F.2d 909, 923 (6th Cir. 1983) (“Consent Decrees

minimize the delay, expense, psychological bitterness, and adverse publicity which frequently

accompanies adjudicated guilt.”).

       The Proposed Consent Decree is also a superior outcome to a litigated judgment because

the Proposed Consent Decree is more likely to achieve the reform sought. The Seventh Circuit

has long recognized that the consensual nature of a consent decree increases the likelihood of

voluntary compliance. Metro. Hous. Dev. Corp. v. Vill. of Arlington Heights, 616 F.2d 1006,

1014 (7th Cir. 1980). The process of implementing the hundreds of provisions in the Proposed



                                                15
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 16 of 21 PageID #:1830



Consent Decree will be a significant undertaking. Given the critical importance of cooperation to

the overall success of the reform effort embodied in the Proposed Consent Decree, the parties

have appropriately recognized that settlement is a better course of action than litigation. The

proceedings conducted to date and the complexity of the anticipated litigation therefore favor

approval of the Proposed Consent Decree. See Hiram Walker, 768 F.2d at 889.

               3.      While the Proposed Consent Decree may face opposition, the
                       Proposed Consent Decree appropriately balances the interests of
                       affected parties.

       The Court may well hear from some members of the Chicago community who believe the

Proposed Consent Decree goes too far and from others who believe it does not go far enough.

Taken together, these conflicting perspectives highlight the impossibility of achieving a perfect

balance between the interests of affected parties and suggest that the Proposed Consent Decree

strikes an appropriate balance between these interests. A fair assessment of the amount of

opposition among affected parties leads to the conclusion that the Proposed Consent Decree

should be approved. See Isby, 75 F.3d at 1199.

       The Court has already heard and will likely hear again opposition to the Proposed

Consent Decree from the FOP. As the State demonstrated in opposing the FOP’s belated attempt

to intervene in this litigation, the FOP has vocally opposed the very concept of a consent decree

since this litigation was first filed. (See Dkt. 73, at 1–3 (describing statements by FOP leadership

opposing the parties’ efforts to negotiate a consent decree).) Despite the FOP’s opposition, the

OAG solicited the FOP’s views regarding potential reforms to CPD (see Dkt. 81-3 (summarizing

proposals the FOP provided to the State in September 2017)), and the Proposed Consent Decree

implements reforms that align with the FOP’s proposals in many areas. The Proposed Consent

Decree also appropriately respects the contractual rights embodied in the FOP’s collective

bargaining agreement (“CBA”) with the City. Paragraphs 710 and 711 of the Proposed Consent
                                                 16
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 17 of 21 PageID #:1831



Decree expressly provide that nothing in the Proposed Consent Decree is intended to alter the

CBA or to “impair or conflict with the collective bargaining rights” of the FOP’s members. In

addition to containing language that the FOP itself suggested (compare Dkt. 81-3, at 1 with

Proposed Consent Decree, ¶¶ 710–11), these paragraphs provide the same type of protection for

collective bargaining rights founds in similar police reform consent decrees entered by federal

courts around the country.4

       Although the FOP’s opposition to the very concept of a consent decree is unfortunate,

FOP’s consent is not required. Even where, unlike here, a union successfully intervenes in

litigation involving a potential consent decree between a plaintiff and the union’s municipal

employer, the Supreme Court has held that the intervening union “does not have power to block

the decree merely by withholding its consent.” Local No. 93, Int’l Ass’n of Firefighters v. City of

Cleveland, 478 U.S. 501, 528 (1986) (affirming entry of consent decree that “impose[d] no legal

duties or obligations” on objecting union).

       On the other side, there will no doubt be some who object to the Proposed Consent

Decree as inadequate to remedy the mistrust in CPD that has been many decades in the making.

The Proposed Consent Decree is, however, more extensive than any other police reform consent

decree ever approved by a federal court. The Proposed Consent Decree prescribes hundreds of


       4
         See United States v. Police Department of Baltimore City, No. 1:17-cv-00099, Dkt. No.
2-2, ¶¶ 497-98 (D. Md. Jan. 12, 2017); United States v. City of Newark, No. 2:16-cv-01731, Dkt.
No. 4-1, ¶ 220 (D. N.J. Apr. 29, 2016); United States v. City of Cleveland, No. 1:15-cv-01046,
Dkt. No. 7-1, ¶ 399 (N.D. Ohio June 12, 2015); United States v. City of Albuquerque, No. 1:14-
cv-01025, Dkt. No. 9-1, ¶ 340 (D. N.M. June 2, 2015); United States v. County of Los Angeles,
No. 2:15-cv-03174, Dkt. No. 4, ¶ 209 (C.D. Cal. Apr. 28, 2015); United States v. Commonwealth
of Puerto Rico, No. 3:12-cv-2039, Dkt. No. 57-1, ¶ 298 (D. P.R. July 17, 2013); United States v.
City of New Orleans, No. 2:12-cv-01924, Dkt. No. 159-1, ¶ 489 (E.D. La. Jan. 11, 2013); United
States v. City of Portland, No. 3:12-cv-02265, Dkt. No. 4-1, ¶ 189 (D. Or. Dec. 17, 2012);
United States v. Town of East Haven, No. 3:12-cv-01652, Dkt. No. 2-1, ¶ 231 (D. Conn. Nov.
20, 2012); United States v. City of Seattle, No. 2:12-cv-01282, Dkt. No. 3-1, ¶ 227 (W.D. Wash.
July 27, 2012).
                                                17
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 18 of 21 PageID #:1832



requirements in ten different substantive areas that touch on virtually every aspect of CPD’s

operations. If implemented properly, the Proposed Consent Decree will fundamentally transform

CPD for the better. While there may be individual provisions in the Proposed Consent Decree

that will draw objections, the Court must view the document as a whole. See Isby, 75 F.3d at

1199. Taken as a whole, the Proposed Consent Decree is a bold, comprehensive, and durable

foundation for ensuring constitutional policing in Chicago.

       Of course, the Proposed Consent Decree cannot and will not cure every concern

Chicagoans have about CPD. The Proposed Consent Decree does, however, provide a broad and

strong remedy for redressing the decades-long pattern of unconstitutional conduct that led to this

litigation. Thus, while there will be opposition to the Proposed Consent Decree, that opposition

should not preclude approval of what is a fundamentally lawful, fair, reasonable, and adequate

agreement.

               4.     The opinions of competent counsel favor approval of the Proposed
                      Consent Decree.

       District courts also look to the opinions of competent counsel in assessing whether to

approve a proposed consent decree. Isby, 75 F.3d at 1199. The opinions of competent counsel in

this case favor approval of the Proposed Consent Decree.

       In addition to the support of Attorney General Madigan and the rest of the State’s legal

and expert team, one of the State’s experts, Jonathan M. Smith, was Chief of DOJ’s Special

Litigation Section from 2010 to 2015. In that capacity, Mr. Smith oversaw the negotiation and

implementation of numerous police reform consent decrees. In light of the caliber of the State’s

representation, the Court can and should rely on the opinion of the State’s counsel that the

Proposed Consent Decree is a lawful, fair, adequate, and reasonable agreement.




                                               18
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 19 of 21 PageID #:1833



       The City has also been ably represented by competent counsel, including multiple

attorneys from two large law firms, Taft, Stettinius & Hollister LLP, and Wilmer, Cutler,

Pickering, Hale & Dorr LLP. The City has also relied on the expertise of Michael R. Bromwich,

who served as the independent monitor responsible for overseeing implementation of reforms to

the police department in Washington, D.C. As a result, the Court can confidently rely on the

opinion of the City’s counsel that the Proposed Consent Decree should be approved.

       In addition to the parties’ counsel, the Proposed Consent Decree has also drawn praise

from the attorneys who oversaw the DOJ’s investigation into CPD and helped prepare the DOJ

Report. Specifically, in an August 3, 2018 letter to the Chicago Tribune, Christy E. Lopez,

former Deputy Chief of DOJ’s Special Litigation Section, praised the publicly released draft of

the consent decree as “the best hope in a generation” of reforming CPD.5 Given Ms. Lopez’s role

in the investigation precipitating this litigation, the Court can place confidence in Ms. Lopez’s

endorsement.

               5.      The parties’ arms-length negotiations extended over ten months.

       The negotiation process that led to the parties’ agreement on the Proposed Consent

Decree shows that it is not “tainted by collusion.” See Isby, 75 F.3d at 1200.

       As the Court is aware, the Proposed Consent Decree is the product of over ten months of

negotiations between the parties. Those negotiations were arms-length and robust. The parties

sought the Court’s assistance on multiple occasions to work through disputed issues in settlement

conferences. See id. (noting that the district court’s involvement in the settlement process

weighed against any suggestion of collusion). The adversarial posture of the negotiating process


       5
         Christy E. Lopez, Letter: The Chicago Police Department gets a chance at reform,
thanks to the consent decree, CHICAGO TRIBUNE (Aug. 3, 2018), available at
http://www.chicagotribune.com/news/opinion/letters/ct-letters-chicago-police-reform-consent-
decree-20180803-story.html.
                                                19
 Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 20 of 21 PageID #:1834



is further evidenced by the fact that one issue remained outstanding as of the public release of a

draft of the consent decree: whether officers should report when they point a firearm at a person.

For more than a month, the parties continued to negotiate potential resolutions of that issue,

while simultaneously preparing to litigate if a reasonable resolution was not attained. The parties

reached agreement on that issue on September 5, 2018, and that agreement is contained in the

Proposed Consent Decree.

       The parties’ adversarial posture during negotiations, as well as the degree to which the

discussions were informed by national policing experts, CPD, and members of the public and

civil rights organizations, provides further assurance that the Proposed Consent Decree is lawful,

fair, reasonable, and adequate.

VI.    CONCLUSION

       The State respectfully requests that the Court, following the public hearing scheduled for

October 24 and 25, 2018, grant the motion to approve the Proposed Consent Decree, and enter

the Proposed Consent Decree as an order of the Court.



Dated: September 13, 2018                       Respectfully submitted,

                                                LISA MADIGAN
                                                ATTORNEY GENERAL OF
                                                THE STATE OF ILLINOIS


                                          By: /s/ Cara A. Hendrickson
                                              Chief, Public Interest Division
                                              OFFICE OF THE ILLINOIS ATTORNEY GENERAL
                                              100 W. Randolph St., 12th Floor
                                              Chicago, Illinois 60601
                                              (312) 814-3000
                                              chendrickson@atg.state.il.us

                                                Brent D. Stratton
                                                Gary S. Caplan

                                                20
Case: 1:17-cv-06260 Document #: 109 Filed: 09/13/18 Page 21 of 21 PageID #:1835



                                      Karyn L. Bass Ehler
                                      Thomas Verticchio
                                      Cynthia L. Flores
                                      Shareese N. Pryor
                                      Leigh J. Richie
                                      Christopher G. Wells
                                      Mikiko Thelwell
                                      OFFICE OF THE ILLINOIS ATTORNEY GENERAL
                                      100 West Randolph Street, 11th floor
                                      Chicago, Illinois 60601
                                      Phone: (312) 814-3000
                                      Attorney No. 99000

                                      Martin R. Lueck
                                      Munir R. Meghjee
                                      Timothy Q. Purdon
                                      Anne M. Lockner
                                      Patrick M. Arenz
                                      Sharon Roberg-Perez
                                      ROBINS KAPLAN LLP
                                      800 LaSalle Avenue, Suite 2800
                                      Minneapolis, Minnesota 55402
                                      Phone: (612) 349-8591




                                      21
